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US DISTRICT COURT
WESTERN DIST ARKANSA
FILED
IN THE UNITED STATES DISTRICT COURT OCT ~ 4 2018
FOR THE WESTERN DISTRICT OF ARKANSAS — pouGLas F. YOUNG. Cler
FAYETTEVILLE DIVISION oepuy Cet ,
pu er!

UNITED STATES OF AMERICA
No. 5:19-CR-50079-001-002
8 U.S.C. § 1324(a)(1)(A)(ii)

8 U.S.C. § 1324(a)(1)(A)(v)(D)
8 U.S.C. § 1324(a)(1)(B)(i)

8 U.S.C. § 1324(a)(1)(A)(iv)

8 U.S.C. § 1324(a)(1)(A)(v) ID
18 U.S.C. § 1343

18 U.S.C. § 1341

18 U.S.C. § 371

18 U.S.C. § 1546(a)

18 U.S.C. § 1956(h)

18 U.S.C. § 1956(a)(1)(B)(i)
18 U.S.C. §2

 

PAUL PETERSEN and - 001
MAKI TAKEHISA — - 002

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SUPERSEDING INDICTMENT

The Grand Jury charges that:
At all times material to this Superseding Indictment:
INTRODUCTION

1. The Republic of the Marshall Islands (hereinafter the “RMI”) is an island country
near the equator in the Pacific Ocean, slightly west of the International Date Line. The country’s
population of 53,158 people is spread out over 29 coral atolls, comprising 1,156 individual islands.
The capital and largest city is Majuro.

2. In 1983, the United States entered into a Compact of Free Association (hereinafter,
the “Compact”) with the RMI government. The United States and the RMI signed an Amended

Compact in 2003, which Congress codified at Public Law 108-188.
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3, Section §141 of the Compact grants RMI citizens the ability to freely enter and take
up employment within the United States. Section §141(b) prohibits RMI citizens from entering
the United States under the Compact agreement if their travel is for the purpose of adoption. In
pertinent part, the Compact states, “(b) Notwithstanding subsection (a) of this section, a person
who is coming to the United States pursuant to an adoption outside the United States, or of adoption
in the United States, is ineligible for admission under the Compact and the Compact as amended.”

4, The Defendant, PAUL PETERSEN, is a licensed attorney who practices law in
Arizona, Utah, and Arkansas.

5. The Defendant, MAKI TAKEHISA, is a citizen of the RMI.

THE SCHEME AND ARTIFICE TO DEFRAUD

6. Beginning on an unknown date, but at least as early as April 21, 2014, and
continuing to on or about March 2, 2015, in the Western District of Arkansas, and elsewhere, the
defendant PAUL PETERSEN (hereinafter “PETERSEN”), aided and abetted by others known
and unknown to the Grand Jury, knowingly and willfully devised and intended to devise a scheme
and artifice to defraud and to obtain money and property from unknowing adoptive parents and
others by means of material false and fraudulent pretenses, representations and promises and the
concealment of material facts for the purpose of obtaining money that he would not have received
had the adoptive parents and other government authorities known the facts involved in his scheme

and artifice to defraud.
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THE MANNER AND MEANS

7. It was further part of the scheme and artifice to defraud that PETERSEN offered
to pay and did pay sums of United States Currency to pregnant Marshallese women to induce them
to travel to the United States for the purpose of placing their babies up for adoption in the United
States.

8. It was part of the scheme and artifice to defraud that PETERSEN and MAKI
TAKEHISA (hereinafter “TAKEHISA”), aided and abetted by others known and unknown to
the Grand Jury, purchased airline tickets for pregnant Marshallese women to travel from the RMI
to the Western District of Arkansas and back to the RMI.

9. It was further part of the scheme and artifice to defraud that PETERSEN and
TAKEHISA, aided and abetted by others known and unknown to the Grand Jury, caused the
pregnant Marshallese women to conceal the true purpose of their travel to the United States from
the authorities in the RMI and the United States because the travel was in violation of the Compact.

10. _‘_It was further part of the scheme and artifice to defraud that PETERSEN caused
case files to be opened in the Circuit Clerk’s Offices in Washington and Polk Counties located in
the Western District of Arkansas on adoptions that were supported by documents that contained
fraudulent material false statements.

11. _It was further part of the scheme and artifice to defraud that PETERSEN caused
certain case opening documents to be sent by others through the United States Mail to government
offices in Little Rock, Arkansas.

12. It was further part of the scheme and artifice to defraud that PETERSEN

knowingly caused adoption court documents containing material false statements to be filed in the
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Circuit Court for Polk County, Arkansas, and in the Circuit Court for Washington County,
Arkansas, both of which are within the Western District of Arkansas.

13. It was further part of the scheme and artifice to defraud that PETERSEN caused
certain case closing documents to be sent by others through the United States Mail to government
offices in Little Rock, Arkansas. .

14. ‘It was further part of the scheme and artifice to defraud that PETERSEN
intentionally concealed his own involvement in the payments of United States Currency to
pregnant Marshallese women by causing wire transfers from an Arizona bank account held in his
name to a bank account in Arkansas that was held:in another individual’s name..

15. It was further part of the scheme and artifice to defraud that TAKEHISA withdrew
large sums of cash from her Arkansas bank account to pay the pregnant Marshallese women. The
source of the cash payments TAKEHISA made to the pregnant Marshallese women was funds
that had been wire transferred into her bank account from PETERSEN’s bank account in Arizona.

COUNT ONE

CONSPIRACY TO SMUGGLE ILLEGAL ALIENS FOR COMMERCIAL
ADVANTAGE AND PRIVATE FINANCIAL GAIN

Title 8, United States Code, Sections 1324(a)(1)(A)(ii), 1324(a)(1)(A)(v)C) and
1324(a)(1)(B)(@)

16. The allegations contained in paragraph 1 through and including paragraph 15 are
re-alleged and incorporated by reference as though set forth in their entirety.

17. Beginning on an unknown date, but at least as early as April 21, 2014, and
continuing to on or about March 2, 2015, in the Western District of Arkansas, and elsewhere, the

Defendants, PAUL PETERSEN and MAKI TAKEHISA, did knowingly conspire and agree
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with other persons known and unknown to the grand jury, to transport and move and attempt to
transport and move within the United States, R.M.J., A.T., R.J., and D.J., aliens who had come to,
entered, and remained in the United States in violation of law, within the United States by means
of transportation or otherwise, in furtherance of such violation of law, for the purpose of
commercial advantage and private financial gain, all in violation of Title 8, United States Code,
Sections 1324(a)(1)(A)(ii), 1324(a)(1)(A)(v)(D, and 1324(a)(1)(B)(i).

COUNTS TWO THROUGH FIVE

AIDING AND ABETTING ALIEN SMUGGLING FOR COMMERCIAL ADVANTAGE
AND PRIVATE FINANCIAL GAIN

Title 8, United States Code, Sections 1324(a)(1)(A)(iv), 1324(a)(1)(A)(v) ID, 1324(a)(1)(B)()
COUNT TWO
18. Beginning on an unknown date, but at least as early as February 1, 2014, and
continuing to on or about April 21, 2014, in the Western District of Arkansas, and elsewhere, the
Defendant, PAUL PETERSEN, aiding and abetting others known and unknown to the grand
jury, did encourage and induce an alien, namely, R.M.J., to come to, enter and reside in the United
States, knowing and in reckless disregard of the fact that such coming to, entry, and residence in
the United States was in violation of law, for the purpose of commercial advantage and private
financial gain, all in violation of Title 8, United States Code, Sections 1324(a)(1)(A)(iv),
1324(a)(1)(A)(v)D, and 1324(a)(1)(B)(i).
COUNT THREE
19. Beginning on an unknown date, but at least as early as August 1, 2014 and
continuing to on or about October 1, 2014, in the Western District of Arkansas, and elsewhere,

the Defendant, PAUL PETERSEN, aiding and abetting others known and unknown to the grand

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jury, did encourage and induce an alien, namely, A.T., to come to, enter and reside in the United

States, knowing and in reckless disregard of the fact that such coming to, entry, and residence in

the United States was in violation of law, for the purpose of commercial advantage and private

financial gain, all in violation of Title 8, United States Code, Sections 1324(a)(1)(A)(iv),

1324(a)(1)(A)(v)D, and 1324(a)(1)(B)(i).

COUNT FOUR
20. Beginning on an unknown date, but at least as early as February 18, 2015 and

continuing to on or about February 20, 2015, in the Western District of Arkansas, and elsewhere,

the Defendant, PAUL PETERSEN, aiding and abetting others known and unknown to the grand

jury, did encourage and induce an alien, namely, R.J., to come to, enter and reside in the United

States, knowing and in reckless disregard of the fact that such coming to, entry, and residence in

the United States was in violation of law, for the purpose of commercial advantage and private

financial gain, all in violation of Title 8, United States Code, Sections 1324(a)(1)(A)(iv),

1324(a)(1)(A)(v) UD, and 1324(a)(1)(B)(i).

COUNT FIVE
21. Beginning on an unknown date, but at least as early as February 27, 2015 and

continuing to on or about March 2, 2015, in the Western District of Arkansas, and elsewhere, the
Defendants, PAUL PETERSEN and MAKI TAKEHISA, Arkansas, aiding and abetting others
known and unknown to the grand jury, did encourage and induce an alien, namely, D.J., to come
to, enter and reside in the United States, knowing and in reckless disregard of the fact that such

coming to, entry, and residence in the United States was in violation of law, for the purpose of
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commercial advantage and private financial gain, all in violation of Title 8, United States Code,
Sections 1324(a)(1)(A)(iv), 1324(a)(1)(A)() UD, and 1324(a)(1)(B)().
COUNTS SIX THROUGH TWELVE
WIRE FRAUD
Title 18, United States Code, Section 1343 and 2

22. The allegations contained in paragraph 1 through and including paragraph 15 are
re-alleged and incorporated by reference as though set forth in their entirety.

23. On or about the dates set forth below, each date being a separate count and
violation of Title 18, United States Code, Section 1343, in the Western District of Arkansas,
Fayetteville Division and elsewhere, the Defendant, PAUL PETERSEN, aided and abetted by
others known and unknown to the Grand Jury, having intentionally devised the above-described
scheme and artifice to defraud and for obtaining money and property from others by means of
material false and fraudulent pretenses, representations and promises and concealment of material

facts, transmitted and caused to be transmitted in interstate commerce the following wire

 

 

 

communications:
Count | Date Signal and Sound
6 08/01/2014 | Internet transmission sent to the Western District of Arkansas containing

information regarding the United Airlines plane ticket for A.T. for travel from
the RMI to Bentonville, Arkansas

 

7 04/06/2015 | Internet transmission sent to the Western District of Arkansas containing
information regarding the United Airlines plane ticket for A.T. for travel from
Bentonville, Arkansas, to the RMI

 

8 03/02/2015 | Internet transmission sent to the Western District of Arkansas containing
information regarding the United Airlines plane ticket for D.J. for travel from the
RMI to Bentonville, Arkansas

 

 

9 06/09/2015 | Internet transmission sent to the Western District of Arkansas containing
information regarding the United Airlines plane ticket for D.J. for travel from
Bentonville, Arkansas, to the RMI

 

 

 

 
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Count

Date

Signal and Sound

 

10

02/20/2015

Internet transmission sent to the Western District of Arkansas containing
information regarding the United Airlines plane ticket for R.J. for travel from the
RMI to Bentonville, Arkansas

 

1]

08/25/2015

Internet transmission sent to the Western District of Arkansas containing
information regarding the United Airlines plane ticket for R.J. for travel from
Bentonville, Arkansas, to the RMI

 

 

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05/21/2015

 

 

Internet transfer of $4,300.00 from an account named “LAW OFFICE OF PAUL
D. PETERSEN to an account in the name of “MAKI TAKEHISA”

 

All in violation of Title 18, United States Code, Sections 2 and 1343.

COUNTS THIRTEEN THROUGH SEVENTEEN
MAIL FRAUD

Title 18, United States Code, Section 1341 and 2

24. The allegations contained in paragraph 1 through and including paragraph 15 are

re-alleged and incorporated by reference as though set forth in their entirety.

25. On or about the dates set forth below, each date being a separate count and violation

of Title 18, United States Code, Section 1341, in the Western District of Arkansas, Fayetteville

Division and elsewhere, the Defendant, PAUL PETERSEN, aided and abetted by others known

and unknown to the Grand Jury, having intentionally devised the above-described scheme and

artifice to defraud and for obtaining money and property from others by means of material false

and fraudulent pretenses, representations and promises and concealment of material facts and for

the purpose of executing such scheme and artifice to defraud and attempting to do so, caused to be

sent and delivered by the United States Postal Service the following packages and parcels:

 

 

 

 

 

Count | Date County and Date Address mailed to Mode of
Court Case Mailed transportation
Document | Number
Filed

13 12-18-2014 | Polk County 12-18-2014 | AOC USPS

Case No: 625 Marshall St.,
PR-2014-138 Little Rock, AR 72201

 

 

 

 

 

 

 

 
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14 1-7-2015 Polk County 1-7-2015 Division of Vital USPS
Case No: Records
PR-2014-138 Little Rock, AR 72205

15 5-19-2015 | Washington 5-19-2015 AOC USPS
County Case 625 Marshall St.,
No: PR- Little Rock, AR 72201
2015-406-5

16 5-28-2015 Washington 5-28-2015 Division of Vital USPS
County Case Records
No: PR- Little Rock, AR 72205
2015-406-5

17 7-21-2015 Polk County | 7-21-2015 AOC USPS
Case No: PR- 625 Marshall St.,
2015-101 Little Rock, AR 72201

 

 

All in violation of Title 18, United States Code, Sections 2 and 1341.
COUNT EIGHTEEN
CONSPIRACY TO COMMIT VISA FRAUD
Title 18, United States Code, Sections 37land Section 1546(a)

26. The allegations contained in paragraph 1 through and including paragraph 15 are
re-alleged and incorporated by reference as though set forth in their entirety.

27. Beginning on an unknown date, but at least as early as April 21, 2014, and
continuing to on or about March 2, 2015, in the Western District of Arkansas, and elsewhere, the
Defendants, PAUL PETERSEN and MAKI TAKEHISA, did knowingly conspire and agree
with other persons known and unknown to the grand jury, to knowingly cause RMI citizens,
namely, R.M.J., A.T., R.J., and D.J., RMI citizens, to make false claims to government officials
that they were eligible for admission to the United States under the terms of the Compact, when,
in fact, they were illegal aliens and should not have been permitted to enter the United States

without a visa, all in violation of Title 18, United States Code Sections 371 and 1546(a).
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COUNT NINETEEN
CONSPIRACY TO COMMIT MONEY LAUNDERING
Title 18, United States Code, Section 1956(h)

28. The allegations contained in paragraph 1 through and including paragraph 15 are
re-alleged and incorporated by reference as though set forth in their entirety.

29. Beginning on an unknown date, but at least as early as April 21, 2014, and
continuing to on or about March 2, 2015, in the Western District of Arkansas, and elsewhere, the
Defendants, PAUL PETERSEN and MAKI TAKEHISA, did knowingly combine, conspire,
and agree with each other and with other persons known and unknown to the Grand Jury to commit
offenses against the United States in violation of Title 18, United States Code, Section 1956, to
wit: to knowingly conduct and attempt to conduct financial transactions affecting interstate
commerce, which transactions involved the proceeds of some specified unlawful activity, that is,
Alien Smuggling, Wire Fraud, and Visa Fraud, knowing that the transactions were designed in
whole or in part to conceal and disguise the nature, location, source, ownership, and control of the
proceeds of specified unlawful activity, and that while conducting and attempting to conduct such
financial transactions, knew that the property involved in the financial transactions represented the

proceeds of some form of unlawful activity, in violation of Title 18, United States Code, Section

1956(a)(1)(B)(i).

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THE MANNER AND MEANS

The manner and means used to accomplish the objectives of the conspiracy charged in
Count Nineteen included, among others, the following:

30. Over the course of the conspiracy the defendants did conspire, with each other and
others known and unknown to the Grand Jury, concerning the transportation of pregnant women
from the RMI to the Western District of Arkansas in violation of the Compact.

31. It was part of the conspiracy that PETERSEN would offer to pay the women large
sums of United States Currency to induce them to both travel to the Western District of Arkansas
and also to put their babies up for adoption in the Western District of Arkansas.

32. It was further part of the conspiracy to commit money laundering that PETERSEN
intentionally concealed his own involvement in the payments of United States Currency to
pregnant Marshallese women by sending wire transfers from a bank account he controlled in
Arizona to TAKEHISA’s bank account in Arkansas.

33. It was further part of the conspiracy that TAKEHISA withdrew large sums of
money wired by PETERSEN into her account in cash. TAKEHISA used this cash to make
payments to the pregnant Marshallese women.

34. It was further part of the conspiracy that PETERSEN conspired to conduct
approximately 300 wire transactions to transfer a total of approximately $1,050,157.20 into a bank
account that TAKEHISA controlled. It was part of the conspiracy that TAKEHISA conducted
approximately 214 transactions and withdrew a total of approximately $796,174.00 from a bank

account that she controlled.

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All the acts described in Count Nineteen are in violation of Title 18, United States Code,

Section 1956(h).

A True Bill.

/s/Grand Jury Foreperson By:

Grand Jury Foreperson

DUANE (DAK) KEES
UNITED STATES ATTORNEY

Deen Qikkea foe

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